Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 1 of 10 PageID #: 612




                                                                    EXHIBIT 1
Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 2 of 10 PageID #: 613




                                                                    EXHIBIT 1
Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 3 of 10 PageID #: 614




                                                                    EXHIBIT 1
Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 4 of 10 PageID #: 615




                                                                    EXHIBIT 1
Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 5 of 10 PageID #: 616




                                                                    EXHIBIT 1
Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 6 of 10 PageID #: 617




                                                                    EXHIBIT 1
Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 7 of 10 PageID #: 618




                                                                    EXHIBIT 1
Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 8 of 10 PageID #: 619




                                                                    EXHIBIT 1
Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 9 of 10 PageID #: 620




                                                                    EXHIBIT 1
Case 6:21-cv-04191-RRS-CBW Document 13-1 Filed 01/18/22 Page 10 of 10 PageID #: 621




                                                                    EXHIBIT 1
